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                                                            ATTORNEYS FOR PLAINTIFFS



                                                                                 IN THE UNITED STATES DISTRICT COURT

                                                                                            DISTRICT OF ALASKA

                                                            CHARLES CAMPBELL, KENNETH BAKER                    )
                                                            Individually and as father of S.P (MINOR) and      )
                                                            A.P. (MINOR); JENNIFER BAKER;                      )
                                                            KIRK MEDAK; CARLA GROSVOLD;                        )
                                                            ERICK FREDERICKSON                                 )
                                                                                                               )
                                                                                      Plaintiffs,              ) Case No. 3:16-cv-00038 (JWS)
                                                                                                               )
                                                            VS.                                                )
                                                                                                               )
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                                                            BAKER HUGHES OILFIELD                              )
                          1007 West 3rd Ave., Suite 206
                            Anchorage, Alaska 99501




                                                            OPERATIONS, INC.,                                  ) (JURY DEMANDED)
                                                                                                               )
                                                                                 Defendant.                    )
                                                            ______________________________________             )

                                                                                       SECOND AMENDED COMPLAINT

                                                                  Comes Now Plaintiffs, by and through their attorneys, Flanigan & Bataille,

                                                            hereby file their second amended complaint per stipulation, and allege as follows:

                                                                                      PARTIES AND JURISDICTION

                                                                  1. Plaintiffs are all residents of the State of Alaska.


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                                                                  2. BJ Services Company U.S.A. LLC is the listed owner of a chemical disposal

                                                            facility located at 54070 Lola Court, Nikiski, Alaska, and operated a disposal facility

                                                            at 54070 Lola Court, Nikiski, Alaska prior to June 13, 2011.

                                                                  3. BJ Services Company U.S.A. LLC merged with Baker Hughes Oilfield

                                                            Operations, Inc., on June 13, 2011. Afterwards the surviving company was known as

                                                            Baker Hughes Oilfield Operations, Inc.

                                                                  4. Baker Hughes Oilfield Operations, Inc. is a corporation organized under the

                                                            laws of the State of California, with its principle place of business in the State of

                                                            Texas.

                                                                  5. Baker Hughes Oilfield Operations, Inc. owns and was operating the disposal

                                                            facility at 54070 Lola Court, Nikiski, Alaska at all relevant times referenced in this

                                                            complaint and has accepted legal responsibility for any discharge of hazardous waste
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                                                            by BJ Services Company U.S.A. LLC. at that site, prior to the merger of those two
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                                                            companies.

                                                                  6. Jurisdiction is properly before this Court pursuant to 28 USC 1332.

                                                                                         GENERAL ALLEGATIONS

                                                                  7. Plaintiffs incorporate by reference all of the allegations made in this

                                                            complaint, as if fully set forth.




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                                                                  8. In October, 2014, Charles Campbell discovered that Baker Hughes Oilfield

                                                            Operations, Inc., operating the disposal facility at 54070 Lola Court, Nikiski, was

                                                            dumping a contaminated cement type material onto his property at 54014 May Ct.,

                                                            Nikiski, Ak. which is adjacent to the Baker Hughes Oilfield Operations, Inc. disposal

                                                            facility at 54070 Lola Court, Nikiski, Alaska. (Parcel No: 01222008 & 01222009, 3

                                                            acres w/saw mill, logs,

                                                            two (2) movable trailers, and heavy equipment)

                                                                   9. The contaminated cement type material had a dark liquid residue mixed in

                                                            with it, which had a foul odor. Large quantities had been dumped on Campbell’s

                                                            property and the liquid part of the substance was leaching into his gravel pit. The

                                                            material did not stay in one place. Particles of the material were scattered into the

                                                            trees surrounding the area and on other properties in the vicinity belonging to
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                                                            Kenneth & Jennifer Baker, Kirk Medak; Carla Grosvold;
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                                                                  10. Campbell asked Baker Hughes Oilfield Operations, Inc. representatives for

                                                            MSDS sheets on the contamination but was not given any.

                                                                  11. Campbell operates a gravel pit and lumber mill at his site so he has to be

                                                            present on his property to operate his business.




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                                                                  12. After discovering the contaminated cement type material on his property,

                                                            Campbell noticed that he was developing respiratory problems and rashes on his

                                                            body, which caused him to seek medical care. These conditions have persisted.

                                                                  13. The other plaintiffs have also experienced health problems associated with

                                                            the contamination or had their land contaminated with the air borne particles, which

                                                            cling to surfaces as set forth below.

                                                                  14. Erick Frederickson, who had been staying on Campbell’s property as a

                                                            watchman also developed respiratory problems and rashes. He moved on to Charles

                                                            Campbell’s property in May of 2014 and moved off of the property in October of

                                                            2014. He lived in a trailer that summer. The trailer was roughly 20 ft from the edge of

                                                            the “spill site.” The trailer was filled with “dust” throughout the summer.

                                                                  15. In late June of 2014, Eric Frederickson was working on property for
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                                                            Charles Campbell when he watched Baker Hughes workers draining a truck through a
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                                                            hose-which pumped out liquid which flowed downhill onto Charles Campbell’s

                                                            property. He spoke with the workers who said it was liquid concrete. He didn’t

                                                            believe it was concrete because it was “oily and burned his skin & sinuses.”

                                                                  16. In September of 2014, Charles Campbell and Eric Frederickson went on a

                                                            walk through the woods and found big mounds of grey powder (dried out liquid). It

                                                            was all over the whole property where the oily fluid had been flowing. There was



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                                                            visible chemical dust on the trees and surrounding plants (varying degrees all over the

                                                            property). Whenever Eric would bump into a tree or plant, “chemical dust” would fall

                                                            off the trees. There would be a large amount of dust come off the trees when Eric

                                                            Frederickson would cut them down.

                                                                  17. Eric Frederickson cited the following symptoms which began this summer:

                                                            coughing in his chest (difficulty breathing), flue like symptoms, diarrhea , nausea,

                                                            restless nights, forgetfulness, exhaustion, fatigue, and severe dizziness during the

                                                            summer. He often found it difficult to stand up in the morning after sleeping in the

                                                            trailer due to dizziness. He also coughed up lots of brown phlegm throughout the

                                                            summer. He has had permanent sinus issues since the summer of 2014.

                                                                  18. Kenneth and Jennifer Baker, own property at 50600 Kenai Spur Highway

                                                            (parcel 01222004, 2 acres with house and shop) which is adjacent to the Baker
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                                                            Hughes property. The Baker’s property is an estimated fifty (50) feet from the
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                                                            contaminated site and twenty (20) feet from the diesel spill (30 gallons of diesel were

                                                            spilled on the Baker Hughes property in April, 2014).

                                                                  19. The Baker’s started noticing signs of the Baker Hughes spill on or about the

                                                            end of May or beginning of June, 2014, when their dog, Stony started coming back to

                                                            their home with mixtures of white and yellow slime (looked like tar and smelled like

                                                            raw sewage) in fur. The mixture caused his hair to fall out.



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                                                                  20. In the middle of the summer of 2014 their dog Nickie came back with wet

                                                            concrete in his hair.

                                                                  21. Towards the end of July of 2014, Kenneth Baker went on a walk to check

                                                            out the property behind his house (crossing over the Baker Hughes property) and

                                                            found large amounts of white power and oil pools (yellow “goo”) on the ground on

                                                            Baker Hughes’ and Charles Campbell’s property.

                                                                  22. Shortly after his discovery of the spill site, Baker Hughes began to clean up

                                                            the spill site. Ken estimates Baker Hughes hauled off “tons of material” and there is

                                                            now a 30 ft hole (30 ft deep/60-80 ft long 40 ft wide).

                                                                  23. During the Baker Hughes clean-up, Ken interacted with the Baker Hughes

                                                            crew. They told him that there was nothing to worry about and that it was just cement.

                                                            He asked what specifically it was and they would not give an answer. They also
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                                                            refused to give him a MSDS sheet.
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                                                                  24. Baker Hughes would also stop all clean-up activities if the Bakers come

                                                            outside to watch the clean up.

                                                                  25. Baker Hughes also hired a “guard” to stay on the property twenty-four (24)

                                                            hours a day.




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                                                                  26. The clean-up witnessed by the Bakers did not include all the air borne

                                                            particles that originated from the contamination and floated onto their property

                                                            coating trees and the surfaces of structures.

                                                                  27. Residing at the Baker’s residence were also their children A.P. (a minor)

                                                            and S.P. (a minor) who are home schooled.

                                                                  28. A.P. after exposure to airborne contamination suffered unexpected major

                                                            nose bleeds as well as depression, anxiety, exhaustion.

                                                                  29. S.P. after the exposure to airborne contamination suffered symptoms of

                                                            eczema, asthma , runny nose, watery eyes, sneezing, depression, anxiety, and

                                                            exhaustion

                                                                  30. Jennifer Baker after the exposure experienced nausea, acne, dry skin,

                                                            itchiness, redness of cheeks, chronic fatigue.
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                                                                  31. Jennifer Baker has also experienced an enlarged thyroid, fatty live disease,
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                                                            an increase in Cholesterol, multiple gall stones, chronic kidney disease, which may be

                                                            related to longer term exposure to the discharge of toxic materials at the Baker

                                                            Hughes site, which on information and belief has been going on for a long time.

                                                                  32. Kenneth Baker since the exposure has suffered upper respiratory issues;

                                                            coughing up phlegm; constant tickle in throat; sinus congestion; nausea; fatigue;

                                                            diarrhea with cramps, abdominal pain; and chest pains.



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                                                                     33. Kirk Medak is an equitable property owner of Parcel 01222007 (.93 acres)

                                                            (T7NR12WSE10SMKN field subdivision No. 1, lot 5, blk 2), located in close

                                                            proximity of the Baker Hughes property. (less than 100 feet east of Baker Hughes

                                                            property), by way of unrecorded quit claim deed.

                                                                     34. Carla Grosvold visited the Medak property with Kirk Medak and was

                                                            exposed to the airborne contamination daily for 6-7 hours a day for two weeks in

                                                            October, 2014 while clearing limbs, while Medak was cutting trees for firewood. She

                                                            developed rashes on her feet and arms. The rash on her left foot has never gone away

                                                            despite treatment.

                                                                                                      COUNT ONE
                                                                                                     (TRESPASS)

                                                                     35. Plaintiffs incorporate by reference all of the allegations made in this complaint, as

                                                            if fully set forth.
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                                                                     36. Defendant trespassed on Charles Campbell’s property by dumping contaminated

                                                            cement type material on his property.

                                                                     37. As a legal and proximate result of that trespass, Charles Campbell and Erick

                                                            Frederickson suffered health problems and Campbell’s real property was diminished in

                                                            value.




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                                                                    38. Defendant trespassed on all other Plaintiff’s property by dumping a contaminated

                                                            cement type product which was permitted to become airborne, causing particles of the

                                                            contaminated material to be deposited on their property by the wind in a foreseeable manner.

                                                                    39. As a legal and proximate result of that trespass, the plaintiffs other than

                                                            Campbell have suffered health problems and the devaluation of their property.

                                                                                            COUNT TWO
                                                                                   LANDOWNER LIABILITY/NEGLIGENCE

                                                                    40. Plaintiffs incorporate by reference all of the allegations made in this complaint, as

                                                            if fully set forth.

                                                                    41. Defendant negligently caused the contamination of the Plaintiff’s property

                                                                    42. As a legal and proximate result of that trespass, Plaintiffs have suffered health

                                                            problems and/or the devaluation of their real property. .

                                                                                                  THIRD COUNT
                                                                                                STRICT LIABILITY
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                                                                                                   A.S. 46.03.822
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                                                                    43. Plaintiffs incorporate by reference all of the allegations made in this complaint, as

                                                            if fully set forth.

                                                                    44. Defendant’s dumping of contaminated cement type material and foul smelling

                                                            liquid that was prone to go airborne if not properly buried, constituted a dangerous release

                                                            and discharge of hazardous substances.

                                                                    45. As a legal and proximate result of that dangerous release, Plaintiffs have suffered

                                                            health problems and/or the devaluation of their real property.




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                                                                                                  FOURTH COUNT
                                                                                                    NUISANCE

                                                                   46. Plaintiffs incorporate by reference all of the allegations made in this complaint, as

                                                            if fully set forth.

                                                                    47. Defendant’s dumping of contaminated cement type material and foul smelling

                                                            liquid that was prone to go airborne if not properly buried constituted a nuisance due to the

                                                            release and discharge of hazardous substances.

                                                                    48. As a legal and proximate result of the nuisance, Plaintiffs suffered health

                                                            problems and/or the devaluation of their real property.

                                                                                               PUNITIVE DAMAGES

                                                                    49. Plaintiffs incorporate by reference all of the allegations made in this complaint, as

                                                            if fully set forth.

                                                                    50. To the extent that the applicable facts and law in this case support an award for
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                                                            punitive damages, Plaintiffs request same be awarded as against the Defendant, in an
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                                                            amount sufficient to punish and deter the Defendant and others similarly situated from the

                                                            conduct complained of in this case.

                                                                                                      DAMAGES

                                                                    51. Plaintiffs incorporate by reference all of the allegations made in this complaint, as

                                                            if fully set forth.

                                                                    52. As a legal and proximate result of the release and discharge of hazardous liquids

                                                            and materials, Plaintiffs suffered personal injury and/or devaluation of their property, all in



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                                                            an amount to be proven at trial, but in any case to exceed the jurisdictional requirements of

                                                            this court including but not limited to.

                                                                      a. Past and future expenses for medical care and monitoring;

                                                                      b. Diminution in value of their real property.

                                                                      c. Past and Future Pain and Suffering

                                                                      d. Punitive damages if warranted.

                                                                                                 PRAYER FOR RELIEF

                                                                   WHEREFORE, Plaintiffs pray for the following relief against Defendants:

                                                                   Damages for each plaintiff in an amount to be proven at trial, plus attorneys fees,

                                                            costs, interest and such other equitable relief this Court deems just and equitable.

                                                                                                   JURY DEMAND

                                                                   Comes Now the Plaintiffs, pursuant to FRCP 38 and L.R. 38.1 and requests a trial by

                                                            jury on all issues in this action.
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                                                                                  DATED THIS 4th DAY OF MARCH, 2016.
                            Anchorage, Alaska 99501




                                                                                                       FLANIGAN & BATAILLE
                                                                                                       ATTORNEYS FOR PLAINTIFF

                                                                                                       By: /s/ Michael W. Flanigan,
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                                                            CERTIFICATE OF SERVICE
                                                            I HEREBY CERTIFY that a true and correct copy of the foregoing
                                                            Second Amended Complaint
                                                            was served by the Court’s electronic filing system (ECM) this
                                                            4th day of March, 2016 on:

                                                            .Stephen Laitinen, Mark Solheim
                                                            Larson • King, LLP
                                                            30 East Seventh Street • Suite 2800
                                                            St. Paul, MN 55101

                                                            Steve Tervooren
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                                                            ____s/ Michael W. Flanigan______________________________
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